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AO 91 (Rev. 11/11) Criminal Complaint
Southern District of Texas
UNITED STATES DISTRICT COURT FILED
for the FEB 08 2019

David J. Bradley, Clerk of Court

 

United States of America )
v. )
Cody Michael MATOUSEK Case No. C -| G . Yy 7 3 m
Guadalupe LEVARIO )
Ashley Michelle VOITLE
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of. February 6, 2019 in the county of. Kenedy in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description

8 United States Code 1324 (M) Each aiding, abetting and assisting one another, did knowingly or in a reckless disregard of the
fact that an alien had come to, entered, or remained in the United States in violation of law,
transport, or move or attempt to transport or move such alien within the United States by
means of transportation or otherwise, in furtherance of such violation of law.

This criminal complaint is based on these facts:

y¥ Continued on the attached sheet.

bu Macy /

Complainant f/signature

Eric Martinez HSI Special Agent
Printed name and title

SWORN TO AND SUBSCRIBED TO ME ON THIS 8th day of February, 2019. i LE

Judge’ s ese

City and state: (et, Ate Che i, LX esd B. Libby, U.S. Ma fe wise

Printed name me and title

 
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AFFIDAVIT

On February 6, 2019, U.S. Border Patrol USBP Agent Villafuerte was assigned immigration inspection
duties at the USBP checkpoint located on Highway 77 near Sarita, TX. At approximately 13:00 hours, a
tow truck driver employed by Minute Man Towing approached USBP Agents and requested assistance.
The tow truck driver stated he had just passed through the USBP checkpoint approximately five minutes
earlier. The tow truck driver stated he returned to the USBP checkpoint because he felt something was
suspicious about the Ford 500 he was hauling.

The tow truck driver informed USBP Agents he had been dispatched by his boss to Armstrong, TX, to
haul a broken-down vehicle. The tow truck driver met a Hispanic male on the side of Highway 77
southbound in Armstrong, TX. The Hispanic male claimed his red Ford 500 had broken down and he
needed a tow. The tow truck driver observed a brown tannish medium SUV parked behind the Ford
500. The tow truck driver observed a Caucasian female standing outside the brown SUV. The Hispanic
male who hired the tow truck driver refused to provide him the keys to the Ford 500 and refused to
allow the tow truck driver into the Ford 500, The Hispanic male told the tow truck driver to meet him at
the O’Reilly Auto Parts in Kingsville, TX. The tow truck driver observed the Hispanic male and the blond
female enter the brown tannish SUV as he departed the scene.

USBP Agent Villafuerte utilized his canine and conducted a free air sniff of the Ford 500. The canine
began alerting to the trunk of the Ford 500. USBP Agent Villafuerte removed a rubber drain plug from
underneath the trunk. USBP Agent Villafuerte felt inside and felt something soft inside who he believed
could be a person. USBP Agent Cavazos utilized a slim Jim and opened the door to the Ford 500. USBP
Agents opened the trunk of the vehicle and observed a male and female inside the trunk of the vehicle.
USBP Agents conducted an immigration inspection of the male and female. They stated they were from
Brazil. They both spoke Portuguese. The female spoke some English and informed USBP Agents she and
her boyfriend were unlawfully present in the United States. The two Brazilians were later identified as

Thalia*Ethen ALMEJDA-Sabino and Renato xt RADE-Silva.
Gb cm

USBP Agent Reyna and USBP agent Hayes utilized an unmarked vehicle and went to the O’Reileys
located in Kingsville, TX. USBP Agent Reyna observed a brown tannish Toyota Rav 4 parked at the
O’Reileys. Agent Reyna observed the Rav 4 depart the O’Reileys and followed it to the McDonald.

Supervisor USBP Agent Cavazos asked the tow truck driver if he was willing to drop off the Ford 500 to
the Hispanic male who had hired him. The tow truck driver agreed to assist USBP. USBP requested
assistance from the Kingsville Police Department. Kingsville Police Officer Ruiz.
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The tow truck driver hauled the Ford 500 to the O’Reileys located in Kingsville, TX. Meanwhile USBP
Agents were setting up near the O’Reileys in Kingsville, TX.

At approximately 14:00 hours, USBP Agent Reyna observed one of the occupants, later identified as
Guadalupe LEVARIO, in the brown tannish Rav4 exit the vehicle. Agents observed LEVARIO walk
towards the O’Reileys store.

At approximately 14:11 hours, the tow truck driver arrived at the O’Reileys. Agents observed LEVARIO
waiving down the tow truck driver and directed him with hand signals to park at the Burger King which
was next to the O’Reileys. Agents observed the tow truck driver proceed to the Burger King and he
spoke with LEVARIO. Agents observed LEVARIO pay the tow truck driver for the hauling service.

USBP Agents arrested LEVARIO and approached the two occupants in the brown tannish Rav4 which was
parked at the McDonald’s. Police Officer Ruiz arrested the driver later identified as Cody MATOUSEK.
Agent Reyna immediately recognized the driver of the Rav4 as an alleged alien smuggler coordinator
whose name was Cody MATOUSEK. USBP and HSI records had revealed MATOUSEK was one of the
main coordinators for an alien smuggling organization involving members of the Aryan Brotherhood and
other individuals who were from the TX City and Galveston area. The other occupant was identified by
Officer Ruiz as Ashley Michelle VOITLE. Cody Matousek and VOITLE were placed under arrest for alien
smuggling. MATOUSEK, VOITLE, and LEVARIO were all transported to the USBP Station in Kingsville, TX.

A search incident to arrest of the Toyota RAV4 was conducted by USBP. USBP Agent Hayes discovered
three cellphones on the driver side door panel of the RAV4. The phones were identified as three apple I-
phones.

USBP Agent Reyna contacted Homeland Security Investigations (HSI) Special Agent (S/A) Eric Martinez
regarding the smuggling event. S/A Martinez was informed that Cody Matousek had been arrested in
Kingsville, TX, for alien smuggling.

On February 6, 2019, at approximately 16:00 hours, S/A Martinez arrived at the Kingsville USBP Station
and spoke with USBP Agents. S/A Martinez observed Agent Runyon conduct an inventory of the RAV4
and the Ford 500. Agent Runyon discovered a white ice chest, water bottles, and a black and an orange
backpack in the rear hatch of the RAV4. Agent Runyon also discovered a brown jacket and another
jacket in the rear passenger seat of the Ford 500. Agent Runyon subsequently spoke with Thalia
ALMEIDA regarding the property. ALMEIDA stated the black and orange backpack was her property.
ALMEIDA stated the brown jacket and the other jacket belonged to ALMEIDA and ANDRADE.
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S/A Martinez observed the three I-phones screens were in the Portuguese language.

On February 6, 2019, at approximately 18:00 hours, S/A Eric Martinez read LEVARIO his Miranda Rights
in the English language. S/A Matt Brem and USBP Agent Benavidez were present for the interview.
LEVARIO stated he understood his rights and agreed to provide a statement without the presence of an
attorney.

STATEMENT BY LEVARIO:

LEVARIO stated Cody MATOUSEK was an acquaintance and once lived in the Texas City area but now
resided in McAllen, TX. LEVARIO stated on or about January 31, 2019, LEVARIO had spoken with
MATOUSEK via phone. MATOUSEK asked LEVARIO if he or VOITLE could help transport one alien to
Houston. LEVARIO stated he declined the offer. Subsequently, LEVARIO spoke to MATOUSEK on
February 1, 2019, MATOUSEK asked LEVARIO again if he could help smuggle a male and female alien for
$5000. LEVARIO stated he declined the offer. LEVARIO stated he and VOITLE departed Texas City on or
about February 4, 2019. LEVARIO stated the purpose of the trip was to meet with MATOUSEK. LEVARIO
and VOITLE arrived in San Juan, TX, and checked into the TX Inn in San Juan, TX. On February 4, 2019,
MATOUSEK told LEVARIO a female was able to get the task done for him. LEVARIO stated MATOUSEK
had mentioned he had some Chinese aliens.

On February 5, 2019, LEVARIO met up with MATOUSEK and MATOUSEK asked LEVARIO again if he could
help transport aliens. LEVARIO stated MATOUSEK had LEVARIO rent a room for MATOUSEK. LEVARIO
stated MATOUSEK showed up with a male and female alien at the hotel. LEVARIO told MATOUSEK he
needed to remove the aliens from the hotel. LEVARIO stated he gave $500 in cash back to MATOUSEK.

LEVARIO and VOITLE departed the hotel on February 6, 2019, in the afternoon in the Ford 500. LEVARIO
stated he and VOITLE broke down south of the checkpoint. LEVARIO stated he contacted a wrecker and
told the wrecker service he needed the Ford 500 towed to the O’Reiley’s in Kingsville, TX. LEVARIO
stated he had also contacted MATOUSEK and had informed MATOUSEK he needed a ride to O’Reiley’s in
Kingsville, TX. LEVARIO stated MATOUSEK had to have been the one who put the male and female alien
into the trunk of the car. LEVARIO stated it was MATOUSEK who had previously offered LEVARIO $2500
per alien to smuggle them to Houston, TX.

VOITLE was read her Miranda Rights in the English language by S/A Martinez. VOITLE declined to
answer questions at this time and stated she might want a lawyer.
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On February 6, 2019, at approximately 19:13 hours HSI S/A Eric Martinez, $/A Matt Brem, and USBP
Agent Alejandro Benavidez utilized a translator via phone. The translator spoke the Portuguese
language. S/A Martinez read Miranda Rights to ANDRADE which were translated in Portuguese by the
interpreter. ANDRADE stated he was willing to answer questions without the presence of an attorney.

STATEMENT BY ANDRADE:

ANDRADE viewed a photograph containing three I-phones which were discovered in the driver side
panel of the RAV4. ANDRADE identified two of the I-phones which were a model 5C and a model 6 plus
as his property. ANDRADE identified ALMEIDA’s phone which was an I-phone model 6. ANDRADE
stated all three phones were from the country of Brazil. ANDRADE stated he was going to pay $20,000
to be smuggled from Brazil into the United States. ANDRADE was asked who he had made
arrangements with then ANDRADE stated he preferred an attorney present to continue the
conversation regarding the arrangements.

On February 6, 2019, at approximately 19:25 hours, S/A Matt Brem and Task Force Agent Bill Payne
utilized a translator via phone. The translator spoke the Portuguese language. S/A Brem read Miranda
Rights to ALMEIDA which were translated in Portuguese by the interpreter. Initially ALMEIDA stated
she would like an attorney present but then recanted and stated she was willing to answer some
questions without the presence of an attorney but not all questions.

STATEMENT BY ALMEIDA:

ALMEIDA stated she departed Brazil on January 22, 2019, and subsequently arrived in Monterrey
Mexico via air. ALMEIDA stated she crossed the Rio Grande River with three other aliens. ALMEIDA
entered the U.S. on January 31, 2019, and was taken to Mission, TX. ALMEIDA stated she was
subsequently taken to a room. ALMEIDA stated her destination was New York. ALMEDIA stated she
met the people who were arrested with her on February 5, 2019. ALMEIDA then requested an attorney.

On February 6, 2019, at approximately 19:55 hours, S/A Eric Martinez read MATOUSEK his Miranda
Rights in the English language. S/A Matt Brem and USBP Agent Benavidez were present for the
interview. MATOUSEK stated he understood his rights and agreed to provide a statement without the
presence of an attorney.

STATEMENT BY MATOUSEK:
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MATOUSEK stated he once resided in the Galveston area but now resided in the McAllen area.
MATOUSEK stated last night he went to visit Guadalupe LEVARIO at a hotel room. MATOUSEK stated on
February 6, 2019, LEVARIO asked MATOUSEK for a ride to Kingsville, TX.

MATOUSEK stated he was in a relationship with Suny ROBINSON. MATOUSEK admitted he knew
ROBINSON was recently arrested for alien smuggling. MATOUSEK stated he did not know any Aryan
Brotherhood members, however identified Joshua DIETRICH who was a confirmed Aryan Brotherhood
gang member via photo lineup. MATOUSEK stated Guadalupe LEVARIO must have been the one who
was smuggling the aliens. MATOUSEK stated it was LEVARIO who put the alien’s cellphones and
property in MATOUSEK’s RAV4.

AUSA Reid Manning was contacted and accepted prosecution of MATOUSEK, VOITLE, and LEVARIO for
violation of Title 8 USC 1324, alien smuggling conspiracy.

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Eric Martinez
Special Agent

Homeland Security Investigations

SUBSCRIBED AND SWORN TO
BEFORE ME THIS 8th DAY
ON FEBRUARY 2019.

 

United States Magistrate Judge
